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 5   Attorney for Chris ANG
 6

 7                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     THE UNITED STATES OF AMERICA, ) No. CR-S-08-318 LKK
10                                 )
                    Plaintiff,     )
11                                 ) STIPULATION AND
          v.                       ) ORDER TO CONTINUE SENTENCING
12   CHRIS ANG,                    )
13
                                   ) Date: 2/22/2012
                    Defendant.     ) Time: 9:15 a.m.
14                                 ) Judge: Hon. Lawrence K. Karlton

15        It is hereby stipulated between the parties, Assistant United
16
     States Attorney Russell Carlberg, Michael Bigelow, attorney for
17
     CRIS ANG, that the sentencing hearing date should be continued
18
     until February 22, 2012.    This short continuance is necessary
19

20   because counsel for defendant Ang has been scheduled for oral

21   argument before the Ninth Circuit Court of Appeals on that same
22   day in the matter of the United States v Rowe, USCA 10-10139. The
23
     calendaring duplication was due to undersigned’s oversight and I
24

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 2
     regret the inconvenience that has resulted.
 3
     Dated:     February 2, 2012                  BENJAMIN WAGNER
 4
                                                  United States Attorney
 5
                                                  /s/ Russell Carlberg____
 6
                                                  RUSSELL CARLBERG
 7                                                Assistant U.S. Attorney

 8
     Dated: February 2, 2012                      Respectfully submitted,
 9

10                                                /s/ Michael Bigelow__________
                                                  MICHAEL BIGELOW
11                                                Attorney for Cris Ang
12

13
                                          ORDER
14

15
     IT IS SO ORDERED
16

17

18   Dated: February 6, 2012
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